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                    IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF MARYLAND


    DEBORAH LAUFER,
                                                 Case No.: 1:20-cv-2136
                  Plaintiff,
    v.

    NARANDA HOTELS, LLC,

              Defendant.
    ____________________________________



MOTION BY: Plaintiff
RELIEF REQUESTED: An Order striking Defendant’s Reply
BASIS FOR RELIEF REQUESTED: Federal Rule of Civil Procedure 12(f)2.
SUPPORTING PAPERS: Memorandum of Law in Support of Motion to Strike
DATE AND TIME: To be determined by this Court
Dated: October 23, 2020


By: /s/ Tristan W. Gillespie
Tristan W. Gillespie, Esq.


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Plaintiff's Memorandum of Law to Strike Defendant’s Reply or in the Alternative for
Leave of Court to File a Surreply to Defendant’s Reply Attempting to Justify its
Motion to Dismiss

PRELIMINARY STATEMENT
         Plaintiff, by undersigned counsel, respectfully requests leave to file a surreply to the

Defendant’s Reply to Plaintiff's Opposition to Motion to Dismiss. Plaintiff respectfully

submits that a surreply is necessary because Defendant’s in their reply brief raised numerous

arguments that they did not raise in their original Motion to Dismiss which are not responsive

to the issues raised by Plaintiff in her Opposition to the Motion to Dismiss. Many of

defendant’s arguments contain misstatements and distortion of the facts that mischaracterize

the nature of plaintiff's complaint. There are at least five new arguments and incorrect

statements that cannot go unrebutted and further those statements were not made in

Defendant’s original Motion to Dismiss.


INTRODUCTION
         Defendant filed their reply on 10/23/2020 in support of the motion to dismiss. Instead

of limiting their reply brief to those arguments set forth in Plaintiffs' opposition, Defendant

set forth the following new arguments for the first time that:


   (1)      Plaintiff has not attached to her Complaint screenshots or documents reflecting the
            third-party sites she visited and the information she found on the third-party sites.
   (2)      Plaintiff has not alleged facts that would establish that she has or will suffer an
            injury in fact that is individual to her, and not common to all disabled members of
            the public.
   (3)      Where standing is challenged, the Plaintiff has the burden of establishing each
            prong of the minimum standard for standing.
   (4)      The third party operated websites themselves were not public accommodations as
            contemplated under the ADA.
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   (5)   The Plaintiff has not established that even if there had been a violation of the ADA
         based upon an alleged temporary lack of sufficient information on the third-party
         websites, that the alleged violation requires redress, or that the violation can be
         redressed in this action where the owners and operators of the third-party websites
         are not parties.
In support of these new arguments, Defendant cited the following cases for the first time in

their reply brief: Binks v. Ally Bank, 2020 U. S. Dist. LEXIS 174344, p. 6 n.3 (D. Md.

2020)(Title II), Co. Doe v. Pub. Citizen, 749 F. 3d 246, 263-264 (4th Cir. 2014), Cohan v.

Cal. Pizza Kitchen, Inc., 2019 U. S. Dist. LEXIS 150269 (E. D. Mich. 2019), Equal Rights

Ctr. v. Abercrombie & Fitch Co, Equal Rights Ctr. v. Abercrombie & Fitch Co., 767 F.

Supp. 2d 510, 514 – 515 (D. Md. 2010), Friends for Ferrell Parkway, LLC v. Stasko, 282 F.

3d 315, 320 (4th Cir. 2002), Fuller v. Mazal Group, LLC, 2018 U. S. Dist. LEXIS 129969,

pp. 10 - 11 (S. D. Fla. 2018), Gomez v. Bang & Olufsen Am., Inc., 2017 U. S. Dist. LEXIS

15457, p.3 (S. D. Fla. 2017), Griffin v. Dep’t of Labor Fed. Credit Union, 912 F. 3d 649

(4th Cir. 2019), Haynes v. Pollo Operations, Inc., 2018 U. S. District LEXIS 51748 (S. D.

Fla 2018), Hernandez v. Caesars License Co., 2019 U. S. Dist. LEXIS 172456,(D. N. J.

2019), Houston v. Marod Supermarkets, Inc., 733 F. 3d 1322, 1334-1335 (11th Cir. 2013),

Lucius v. G-III Apparel Grp., Ltd., 2019 U. S. Dist. LEXIS 126810, (S. D. Fla. 2019), Murray

Energy Corp. v. McCarthy, 2015 U. S. Dist. Lexis 39130, (N. D. W. Va. 2015), Narkunas

v.Park Rd. Shopping Ctr., Inc., 777 F. Supp. 2d 998, 1001 (W. D. N. C. 2011), National

Alliance for Accessibility, Inc. v. Big Lots Stores, Inc., 2012 U. S. Dist. LEXIS 58200, p. 13

(M. D. N. C. 2012), Noah v. AOL Time Warner, Inc., 261 F. Supp. 2d 532, 540 – 545 (E. D.

Va. 2003), Norkunas v. Park Rd. Shopping Ctr., Inc., 777 F. Supp. 2d 998, 1005 (W. D. N.

C. 2011), Proctor v. Prince George's Hospital Center, 32 F. Supp. 3d. 830, 833 (D. Md.
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1998), Reddish v. Ovadia, 2020 U. S. LEXIS 145940, (S. D. Fla. 2020), Stanford v.

Halloway, 2017 U. S. Dist. LEXIS 39290, (D. Md. 2017). These new arguments which

Defendant are raising for the first time in their reply are arguments that could have and

should have been raised in their initial motion to dismiss, thereby allowing the Plaintiff the

opportunity to respond. Defendant’s untimely introduction of these issues is procedurally

improper and unfair to Plaintiff. Further, Defendant grossly misstates the allegations in the

complaint.


      Accordingly, Plaintiff respectfully requests that this Court strike the new arguments,

or in the alternative, grant Plaintiff leave to file a surreply to address Defendant’s newly

raised arguments.


ARGUMENT
      “Surreplies may be permitted when the moving party would be unable to contest

matters presented to this Court for the first time in the opposing party's reply.” Khoury v.

Meserve, 268 F.Supp.2d 600, 605 (D.Md. 2003),aff'd, 85 Fed.Appx. 960 (4th Cir. 2004). It

is well settled that new arguments cannot be made for the first time in a reply brief. See

Lentini v. California Center for the Arts, 370 F.3d 837, 843 n.6 (9th Cir. 2004); Jones v.

Deja Vu, No. 05-0997, 2005 WL 1629941 (N.D. Cal. July 6, 2005). For this reason, this

Court should disregard Defendant’s untimely arguments. See Contratto v. Ethicon, 227

F.R.D. 304, 309 n.5 (N.D. Cal. 2005) (striking new evidence submitted with reply papers

and characterizing "the Defendant’s attempt to introduce new evidence in connection with

their reply papers [as] improper"). If this Court chooses to consider Defendant’s new
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arguments, Plaintiff is entitled to respond fully to those arguments by way of full briefing

on each of these issues. Clark v. Mason, No. C04-1647C, 2005 WL 1189577 (W.D. Wash.

May 19, 2005). See also, Qiu v. Chertoff, No. C07-0578, 2007 WL 1831130 (N.D. Cal. June

25, 2007) ("[T]he Court declines to consider an argument raised for the first time in the reply

brief because to do so would deprive [plaintiffs] of an opportunity to respond.").


      It is well-settled that a party cannot raise a new issue for the first time in a reply brief.

See Martinez-Serrano v. INS, 94 F.3d 1256, 1259 (9th Cir. 1996). Indeed, it is equally well-

settled that a court should not consider or address arguments that are raised for the first time

in a reply brief. Here, the Defendant did not raise the arguments listed above in their Motion

to Dismiss, and Plaintiff did not raise them in her Opposition. As a result, each of these

contentions, and all of the arguments upon which they are based, have been waived.


      Accordingly, this Court should strike these arguments and refuse to consider them in

evaluating Defendant’s Motion to Dismiss.


CONCLUSION

      For the reasons stated herein, Plaintiff respectfully requests entry of an order striking

Defendant’s Reply. Alternatively, Plaintiff respectfully requests leave to file a surreply in

order to correct the Defendant’s misstatements.


Dated: October 23, 2020


By: /s/ Tristan W. Gillespie
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